         Case 1:23-cr-00212-RCL Document 1-1 Filed 06/21/23 Page 1 of 9




                                   STATEMENT OF FACTS

        Your affiant, Jordan Deremer, is a Task Force Officer (TFO) with the Federal Bureau of
Investigation (FBI) assigned to the Philadelphia Field Office. I am currently assigned to the Joint
Terrorism Task Force (“JTTF”) where my duties include investigations of domestic terrorism.
Currently, I am tasked with investigating criminal activity in and around the U.S. Capitol grounds
on January 6, 2021. As a Task Force Officer, I am authorized by law or by a government agency
to engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
            Case 1:23-cr-00212-RCL Document 1-1 Filed 06/21/23 Page 2 of 9




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

Facts Linking Christina Traugh A/K/A Christina Austin 1 to the January 6, 2021, Capitol Riot

       In connection with an investigation of other individuals who unlawfully entered the U.S.
Capitol building on January 6, 2021 -- Christy Taylor-Clark, Matthew Clark, and Paul Spigelmyer 2
– the FBI obtained a search warrant for various Facebook accounts, including an account used by
Taylor-Clark. A review of the account used by Taylor-Clark revealed that the account contained
Facebook private messages between Taylor-Clark and a Facebook user with display name
“Christina Austin.”

      On January 5, 2021, Taylor-Clark and “Christina Austin” engaged in the following
exchange:

Timestamp:       From:      To:        Message:

2021-01-05 Christina Taylor-
                                       What time do you want me to meet you in the morning?
18:16 (EST) Austin Clark

                                      Pap says we are going to leave hotel at 4 a.m.! So we can wait
2021-01-05 Taylor-          Christina
                                      in line for you there if you don't wanna be at the hotel then
18:32 (EST) Clark           Austin
                                      lol

                                       I dont know what the hell i just sent you... lol. I was trying 2
2021-01-05 Christina Taylor-           make the screen bigger. I really don't want to go in alone
18:56 (EST) Austin Clark               so....if you don't mind...ill be there at 4am. Same address you
                                       sent yesterday? 3 research court?[3]

2021-01-05 Taylor-          Christina
                                      Yup! We are in room 243 if you get there early.
18:57 (EST) Clark           Austin

2021-01-05 Christina Taylor-
                                       Thanks so much for letting me tag along!!
18:58 (EST) Austin Clark



1
 Since January 6, 2021, TRAUGH changed her legal name from “Christina Austin” to
“Christina Traugh.”
2
 On February 8, 2021, Taylor-Clark, Clark, and Spigelmyer were charged by complaint (the
“Complaint”) with offenses relating to their conduct on January 6, 2021. See United States v.
Clark, et al., 21-CR-218 (APM), ECF No. 1.
3
    I have learned that 3 Research Court is the address of a hotel in Rockville, Maryland.
         Case 1:23-cr-00212-RCL Document 1-1 Filed 06/21/23 Page 3 of 9




                                    Not a problem. Hell at this rate you should have gotten a room
2021-01-05 Taylor-        Christina
                                    an came early lol. I would tell ya to come stay in our room
19:01 (EST) Clark         Austin
                                    but pap my hug ya in your sleel lol


       On the morning of January 6, 2021, Taylor-Clark and “Christina Austin” engaged in the
following exchange:

Timestamp:    From:         To:             Message:

2021-01-06    Taylor-       Christina
                                            How far out are ya?
3:55 (EST)    Clark         Austin

2021-01-06    Christina
                            Taylor-Clark I'm at 3 Rockville hotel
4:01 (EST)    Austin

                                            Okay we are parked to left of building silver dodge
2021-01-06    Taylor-       Christina       Durango. The guys are back and forth
4:03 (EST)    Clark         Austin
                                            We r checking out now

2021-01-06    Christina
                            Taylor-Clark Is it the sleep Inn or the one next to it
4:06 (EST)    Austin

2021-01-06    Taylor-       Christina
                                            Rockville right beside the sleep inn
4:07 (EST)    Clark         Austin

2021-01-06    Christina
                            Taylor-Clark Ok. I m driving in lot. Looki5for dodge durango
4:09 (EST)    Austin


       Based on the timing of these messages and Taylor-Clark’s presence on the U.S. Capitol
grounds on January 6, 2021, I believe that Taylor-Clark and “Christina Austin” were making
arrangements to meet in order to travel from Maryland to Washington, D.C. together.

      On the evening of January 6, 2021, Taylor-Clark and “Christina Austin” had the following
exchange:

Timestamp: From:          To:           Message:

2021-01-06
           Christina     Taylor-
08:00                                   Can you send that picture to me? 717       9918
           Austin       Clark
(EST)

2021-01-06
           Taylor-       Christina      Yup will do. Feel free to tag yourself in any of the day as
08:01
           Clark        Austin          well!
(EST)
         Case 1:23-cr-00212-RCL Document 1-1 Filed 06/21/23 Page 4 of 9




       The FBI has received numerous tips from members of the public concerning individuals
who unlawfully entered the restricted grounds of the U.S. Capitol and/or entered the U.S. Capitol
building on January 6, 2021. Several tipsters reported that Taylor-Clark had posted pictures and/or
comments on her publicly available Facebook account, indicating that she and Clark were either
near or inside the Capitol building. One tipster provided the following screenshot from Taylor-
Clark’s Facebook account:




        Based on my review of the Complaint and my review of TRAUGH’s Pennsylvania
Department of Motor Vehicles records, I believe that the picture above depicts, from left to right,
Clark, TRAUGH, and Taylor-Clark. See 21-CR-218 (APM), ECF No. 1. In the picture, TRAUGH
is wearing a pink baseball cap and a black hooded jacket with a gray lining. The picture was later
discovered when a search warrant was executed on Taylor-Clark’s cell phone.

      The FBI also obtained a search warrant for the “Christina Austin” Facebook account. The
Facebook search warrant results included the following group exchange:
         Case 1:23-cr-00212-RCL Document 1-1 Filed 06/21/23 Page 5 of 9




Timestamp:     From:        To:            Message:

2021-01-06 Individual 1 Christina          Are you guys anywhere near the capitol?!
14:53 (EST)             Austin

2021-01-06 Christina        Individual 1 I was just inside
16:04 (EST) Austin

2021-01-06               Christina
            Individual 2                   Are you ok ?
16:04 (EST)              Austin

                                         Yep. I was inside....2nd wave of patriots in. They pepper
2021-01-06 Christina
                            Individual 2 sprayed us but when we got in it was still only Capitol
16:17 (EST) Austin
                                         police trying to get out.

2021-01-06               Christina
            Individual 2                   A lady was shot and died Brown hair 0mg
16:17 (EST)              Austin

2021-01-06               Christina
            Individual 2                   Get outta there
16:18 (EST)              Austin

2021-01-06 Christina
                            Individual 2
16:33 (EST) Austin                         We're on our way out of the city now



        The search warrant revealed that the “Christina Austin” Facebook account was associated
with the phone number 717-        -9918. According to records obtained through a search warrant
served on AT&T, on January 6, 2021, the cellphone associated with 717- -9918 utilized a cell
site consistent with providing service to a geographic area that included the interior of the United
States Capitol building. A subsequent search of law enforcement databases confirmed that 717-
    -9918 is number associated with TRAUGH.

       The search warrant further revealed that the “Christina Austin” Facebook account was
associated with the same Pennsylvania home address listed on TRAUGH’s driver’s license.

        On February 10, 2021, Taylor-Clark, Clark, and Spigelmyer were arrested, advised of their
Miranda rights, and interviewed. During their separate interviews, Clark and Spigelmyer each told
investigators that TRAUGH was present with them at the Capitol on January 6, 2021.

       On February 26, 2021, law enforcement reviewed the public “Christina Austin” Facebook
account. That account posted the following on January 7, 2021:
           Case 1:23-cr-00212-RCL Document 1-1 Filed 06/21/23 Page 6 of 9




        Your affiant has reviewed U.S. Capitol CCV footage from January 6, 2021. During that
review, I observed TRAUGH, along with her companions, Taylor-Clark, Clark, and Spigelmyer, 4
enter the U.S. Capitol at approximately 3:04 p.m. via the East Rotunda door. They were captured
on U.S. Capitol surveillance cameras in the East Rotunda Lobby and the Capitol Rotunda, as
shown in screenshots of surveillance footage below. TRAUGH is visible in these images wearing
the same pink baseball-style cap that she is shown to be wearing in the above image posted to
Taylor-Clark’s Facebook. TRAUGH is highlighted in the images below by a red circle.




4
    I am familiar with Spigelmyer’s appearance from my review of the Complaint.
Case 1:23-cr-00212-RCL Document 1-1 Filed 06/21/23 Page 7 of 9
         Case 1:23-cr-00212-RCL Document 1-1 Filed 06/21/23 Page 8 of 9




       TRAUGH and her companions remained in the Rotunda until approximately 3:11 p.m.,
when they and the rest of the crowd were forced out of the area by a police line.

       TRAUGH and her companions exited the U.S. Capitol at approximately 3:14 p.m. through
the same door that they entered.




        Based on the foregoing, your affiant submits that there is probable cause to believe that
TRAUGH violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempt or conspire to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that TRAUGH violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
         Case 1:23-cr-00212-RCL Document 1-1 Filed 06/21/23 Page 9 of 9




                                                    ___________________________
                                                    Task Force Officer Jordan Deremer
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of June 2023.

                                                                         Digitally signed by
                                                     G. Michael Harvey
                                                                         G. Michael Harvey
                                                    ___________________________________
                                                    HON. G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
